      Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 DRIFTLESS AREA LAND CONSERVANCY                      )
 and WISCONSIN WILDLIFE FEDERATION,                   )
                                                      )
                       Plaintiffs,                    )
                                                      )
                 v.                                   )    Case No. 19-cv-1007-wmc
                                                      )
 MICHAEL HUEBSCH and REBECCA VALCQ,                   )
 Public Service Commission of Wisconsin               )
 Commissioners,                                       )
                                                      )
                       Defendants.                    )
                                                      )


       PLAINTIFFS’ MOTION FOR ORDER REVOKING THE CONFIDENTIAL
         DESIGNATION OF, AND FOR UN-REDACTED PRODUCTION OF,
                         DISCOVERY MATERIALS

       Plaintiffs respectfully move the Court to enter an order (1) revoking Defendants’

improper designation of certain discovery materials as “confidential,” (2) requiring Defendants

to produce an unredacted copy of telephone records, and (3) confirming that the telephone

records may be used non-confidentially if the actual telephone numbers are redacted and

replaced with the individuals’ names.

       For the first item, Plaintiffs are following the process set forth under paragraph 16 of the

Stipulation and Protective Order to withdraw the Defendants’ “confidential” designation from

the documents labeled by Defendants as PSCW_011042-43, PSCW_011142-46, and

PSCW_011150-51, and are requesting to be “relieved from the restrictions of this Stipulation and

Protective Order with respect to the information in question.” Doc. 79 at ¶ 16. The purportedly

confidential documents at issue are attached as Exhibit A to the Declaration of Stephen P.

Hurley. For the second item, the telephone records provided to Plaintiffs are attached as Exhibit

B.
                                                 1
      Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 2 of 10




       Plaintiffs’ counsel have attempted to meet and confer with counsel for Defendants on

these items and as of this filing, have not received a response to their emails, which were sent on

December 2 and 4, 2020. Declaration of Stephen P. Hurley, Exhibits C and D. The Court has

already determined that the documents at issue in this motion (those improperly designated as

“confidential” and the telephone records) are relevant and had to be disclosed. Doc. 160.

       The purportedly confidential texts do not reveal any sensitive personal information—and

therefore are not protected by the Stipulation or by Fed. R. Civ. Pro. 26—and are of public

interest. Under the Stipulation and Protective Order, Defendants bear the burden of

demonstrating that the texts are confidential. Doc. 79 at ¶ 16. They cannot meet this burden.

Plaintiffs request that the Court revoke the confidential designation, such that Plaintiffs may file

the documents with this Court not under seal.

       Defendants also produced, in response to this Court’s November 23, 2020 Order,

Commissioner Huebsch’s telephone records, which were designated as confidential. While

specific lines were left unredacted, the vast majority of the telephone records were blacked out.

This is inappropriate and inconsistent with the Court’s Order and the Protective Order. Plaintiffs

request that the Court order the production of an unredacted copy of the telephone records.

                                         BACKGROUND

       Defendants Commissioner Michael Huebsch and Chair Rebecca Valcq had personal and

professional ties to and entanglements with parties (and their affiliates) in the PSC proceeding in

which the Commissioners approved the Certificate of Public Convenience and Necessity

(CPCN) for the proposed Cardinal-Hickory Creek transmission line. Several of the purportedly

“confidential” text messages produced by Defendants do not reveal sensitive personal, medical,

or family information. Instead, they show the depth and extent of Commissioner Huebsch’s

relationship with Robert Garvin, Executive Vice President of External Affairs at WEC Energy
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       Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 3 of 10




Group, and of Chair Valcq’s continuing relationship with former colleagues at the Quarles &

Brady law firm, which serves as outside counsel for WEC Energy Group. WEC Energy Group

has a 60% interest in American Transmission Company, LLC (ATC), which is the lead

developer of the Cardinal-Hickory Creek transmission line in Wisconsin. As the Court

recognized,

         Plaintiffs are not seeking information about anyone’s family affairs, medical
         history or personal finances. The information they seek relates mainly to the
         friendships and social interactions between commissioners and applicants. Given
         the nature of this lawsuit, this information is neither purely personal nor
         unacceptably invasive…. and as already noted, in this particular lawsuit, the
         discovery is going to be more personal than usual.

Doc. 160 at 2-3.

         The procedural history with respect to the production of these documents is relevant. 1

The Defendants initially withheld the texts at issue, along with others, alleging that they were

“purely personal” and did not need to be produced. The Plaintiffs filed a motion to compel

complete responses from the Defendants (Doc. 97). In a text order, the Court directed to

Defendants to file the disputed documents for in camera review. Doc. 99.

         Upon review, the Court held that “all of these documents must be disclosed.” Doc. 160 at

7 (emphasis added). The Court continued: “[a] few of the documents may qualify as confidential

under Rule 26 and the parties’ protective order; I leave it to the parties in the first instance to

attempt to sort this out, subject to refereeing later by the court if necessary.” Id. at 7.




1
  These telephone records are also responsive to an Open Records Request that DALC and WWF submitted nearly a
year ago, in January 2020. The Open Records Request asked for all records of communications, including telephone
records, between Commissioner Huebsch and representatives of MISO or the Organization of MISO States (OMS).
After the PSC delayed its response for months, DALC and WWF brought a lawsuit in state court in May 2020. The
Attorney General’s Office worked with DALC and WWF to provide the requested records, and DALC and WWF
agreed to dismiss the case on the representation that all responsive records had been provided. DALC and WWF did
not receive these telephone records at that time, despite the fact that the records include telephone calls with the past
and current Executive Directors of OMS.

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       Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 4 of 10




        The Plaintiffs do not dispute the confidential treatment of the text messages that deal with

individuals’ medical information, but do request the revocation of the confidential designation of

additional texts that deal with a sporting event and with workplace gossip. These texts do not

qualify for confidential treatment under the Protective Order or under the Federal Rules of Civil

Procedure.

        The telephone records at issue were first produced (confidentially) on November 5, 2020,

and all lines were redacted except for telephone calls between Commissioner Huebsch and John

Garvin (Manager of State Government Relations at ATC) and Brian Rude (Vice President of

Vice President of Government and Community Relations at Dairyland Power Cooperative 2).

After the court’s in camera review and subsequent Order (Doc. 160) finding that the telephone

records were relevant and had to be produced, Defendants then produced a new version of the

telephone records, again confidentially. This version modified the redactions so that in addition

to the telephone calls between Commissioner Huebsch and John Garvin (ATC) and Brian Rude

(Dairyland Power), telephone calls with Robert Garvin (Executive Vice President of External

Affairs at WEC Energy Group), Marcus Hawkins, 3 and Tanya Paslawski 4,5 were also visible.

        This version of the telephone records thus, finally, revealed that Commissioner Huebsch

and Robert (Bert) Garvin exchanged telephone calls over 200 times between when ATC and the

other Developers filed their application for a CPCN with the Commission and the Commission’s

Final Decision granting the CPCN. Between January 2018 and October 2020, Commissioner


2
  Dairyland Power Cooperative is one of the developers of the Cardinal-Hickory Creek transmission line.
3
  Marcus Hawkins is the Executive Director of the Organization of MISO States (OMS). OMS is funded by MISO,
which was a party to the CPCN proceeding. Commissioner Huebsch was the PSC’s representative to OMS and,
while the matter was being litigated before the PSC, joined the MISO Advisory Committee.
4
  Tanya Paslawski was the prior Executive Director of OMS before Marcus Hawkins (see footnote 2).
5
  Note that the Defendants failed to remove the redactions for the “duration” information for a number of the
telephone calls with Robert Garvin. Counsel for Plaintiffs brought this to the attention of Defendants on November
30, 2020. Counsel for Defendants acknowledged the error on December 2, 2020, and stated that they were working
to provide corrected copies. As of this filing, the “corrected” copies have not been provided.

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        Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 5 of 10




Huebsch and Robert Garvin called each other over 370 times. All other telephone calls were still

redacted.

         The continued redaction of other information in the telephone records is inappropriate for

confidentially-designated copies of the records. In addition, the “confidential” information in the

telephone records are the individual telephone numbers. Plaintiffs seek confirmation that if they

redact the telephone numbers, and replace them with the names of the individuals to whom those

numbers belong, the telephone records may be treated as non-confidential and filed not under

seal.

                                          ARGUMENT

I.       Revocation of Confidential Designation of Texts

         Under the Stipulation and Protective Order, Defendants bear the burden of demonstrating

that the texts are confidential. Doc. 79 at ¶ 16. They have not and cannot meet this burden. The

Stipulation and Protective Order allows for the confidential treatment of information entitled to

protection pursuant to Fed. R. Civ. P. 26(c). The Stipulation and Protective Order includes

confidentiality for information protected by legal privacy rights, but explicitly does not expand

the scope of information protected under Fed. R. Civ. P. 26(c). Doc. 79 at ¶ 1(a). The Seventh

Circuit explained in Wolfe v. Schaefer, 619 F.3d 782, 786 (7th Cir. 2010) that “[t]actically

motivated concealment of embarrassing or discreditable personal information can—often it is

intended to—hide things in which the public has a legitimate interest.”

         The texts in PSCW_011042-43 are between Robert “Bert” Garvin and Commissioner

Huebsch. They include a screenshot of a video which appears to be of a school or league

basketball game held in public, and context suggests that it is a basketball game in which one of

Robert Garvin’s family members is playing. However, the image is low-resolution and all of the

people in the image are wholly unidentifiable—even the jersey numbers are illegible.
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      Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 6 of 10




       The texts in PSCW_011142-46 and PSCW_011150-51 are between Chair Valcq and her

former law firm colleague Sherina Edwards, who was a partner at the Quarles & Brady law firm

that serves as outside counsel for WEC Energy Group. These texts include workplace gossip that

demonstrates the closeness of their relationship and Chair Valcq’s continued ties to, and interest

in the goings-on at, her former law firm, which continues to represent WEC, which owns more

than 60% of transmission line developer ATC.

       Disclosure of the texts would not violate the Defendants’ right to privacy because the

information contained in the texts is not of an adequately personal or sensitive nature. The texts

do not reveal legitimately confidential information like bank account numbers, social security

numbers, private health or medical information, or any other “highly personal” information. See

Wolfe, 619 F.3d at 785 (recognizing “a constitutional right to the privacy of medical, sexual,

financial, and perhaps other categories of highly personal information”). Contrary to Quarles and

Brady’s suggestion in their Motion for Clarification, Doc. 169 (dismissed as moot), the texts do

not include any sort of formal “evaluations” of Quarles and Brady personnel—they are rather

gossip between two (apparently close) friends. Quarles and Brady’s suggestion that the mention

of the firm’s interest in hiring an individual sometime in the past constitutes “confidential

business information” is also unpersuasive.

       Moreover, even if Commissioner Huebsch’s or Chair Valcq’s privacy interests were

implicated, a public official has reduced privacy rights as compared to a private individual. This

is because legitimate public interests in the activities of public figures outweigh privacy

concerns. This is especially true when a public official is investigated due to concerns of

misconduct. Wolfe, 619 F.3d at 786 (federal constitutional right to privacy of candidate for




                                                 6
       Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 7 of 10




public office not violated by publicization of confidential investigation into legal and ethical

violations).

         The Defendants may argue that because they have disclosed the documents pursuant to

the terms of the Stipulation and Protective Order, this allows Plaintiffs to use the documents in

litigating this case, and therefore there is no need for removal of the confidential designation.

However, there is significant public interest in this case, and once these texts have been used in a

bona fide filing, they should be open to public inspection. 6 “Documents that affect the

disposition of federal litigation are presumptively open to public view, even if the litigants

strongly prefer secrecy, unless a statute, rule, or privilege justifies confidentiality.” In re Specht,

622 F.3d 697, 701 (7th Cir. 2010). Because these texts are not adequately sensitive to warrant

protection under the Protective Order or Rule 26, the confidential designation should be lifted

such that they become public record once included in a bona fide court filing.

II.      Redaction and Confidentiality of Commissioner Huebsch’s Telephone Records

         The Defendants’ redaction of information from telephone records—which the Court

already ordered must be produced, and that the Defendants already protected by marking as

confidential—is inappropriate and inconsistent with the Court’s order and with the language and

purpose of the Protective Order.

         The Court ordered on November 23, 2020, that the documents that it had reviewed in

camera “must be disclosed.” Doc. 160 at 7. The Court acknowledged that “[a] few of the

documents may qualify as confidential,” and therefore receive protection under the Protective




6
   This case concerns the approval of the Cardinal-Hickory Creek transmission line, a 100-mile high-voltage
transmission line that would be paid for by utility ratepayers (at a cost of over $2 billion over 40 years) and which
would run through miles of private property, family farms, communities, conservation lands and through vital natural
resources including the protected Upper Mississippi National Wildlife and Fish Refuge. Even more, it is about the
public’s trust placed in public officials and the public’s view and interests in the integrity of the regulatory process.

                                                           7
      Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 8 of 10




Order, but gave no indication that the Defendants would be permitted to unilaterally redact

information from these records. Id. at 7. The purpose of the Protective Order is so that

confidential information may be provided to the parties. Paragraph 10 states:

       No information may be withheld from discovery on the basis that the information
       requires greater protection than that afforded by this Stipulation and Protective
       Order, unless the party claiming the need for greater protection moves for and
       obtains an order for such special protection from this Court.

Doc. 79. The redaction of information is therefore inappropriate unless and until the Defendants

obtain an order from the Court allowing redactions.

       If the Defendants argue that the redacted information is not responsive to the discovery

requests and therefore somehow not subject to the terms of the Protective Order, this argument

also fails. A recent decision from the Eastern District of Wisconsin held that a party may not

redact purportedly nonresponsive information from documents produced in discovery. The court

explained that “[t]he practice of redacting for nonresponsiveness or irrelevance finds no explicit

support in the Federal Rules of Civil Procedure, and the only bases for prohibiting a party from

seeing a portion of a document in the Rules are claims of privilege and work-product

protections.” IDC Fin. Publ'g, Inc. v. Bonddesk Grp., LLC, No. 15-CV-1085-PP, 2017 WL

4863202, at *2 (E.D. Wis. Oct. 26, 2017) (unreported) (internal quotation/citation omitted). Even

if pieces of information within responsive documents are not directly responsive to a discovery

request, this does not mean that information is not relevant to the claims in the case. Further, this

information may provide important context for the responsive information. For example,

between January 2018 and October 2020, Commissioner Huebsch and Robert Garvin called each

other over 370 times. Did Commissioner Huebsch talk with other individuals that often, or was

this an unusually high number of telephone calls? Having redacted the information, the

Defendants have prevented the Plaintiffs from making this determination.


                                                  8
      Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 9 of 10




       The unilateral redaction of information is especially troubling here, where it is already

clear that the Defendants (presumably inadvertently) redacted responsive information.

Defendants have acknowledged that their redaction of “duration” information for numerous calls

between Commissioner Huebsch and Robert Garvin was incorrect, but as of today—over a week

after the error was brought to their attention—Defendants have still not produced documents

with the “correct” redactions. Declaration of Rachel Granneman, Exhibits A and B. Was

additional responsive information accidentally redacted? Plaintiffs will not know until they

receive unredacted copies.

       Plaintiffs also request that the Court confirm that Plaintiffs may treat the telephone

records as nonconfidential if they redact the individual telephone numbers and replace them with

the names of the individuals to whom they belong. As noted above, there is significant public

interest in this case, not only because of the impacts that the public would bear if the Cardinal-

Hickory Creek transmission line is constructed, but also because of public concerns about the

Commissioners’ ties to interested parties and the integrity of the regulatory process. The public

has a legitimate interest in the information contained in the records, and once Plaintiffs use the

telephone records in a bona fide filing, the public should have access to this information.

                                          CONCLUSION

       Plaintiffs respectfully move the Court to enter an order: (1) revoking Defendants’

improper designation of certain discovery materials as “confidential,” (2) requiring Defendants

to produce an unredacted copy of Commissioner Huebsch’s telephone records, and (3)

permitting the Plaintiffs to substitute names for telephone numbers in unredacted non-

confidential format for use in this matter.




                                                 9
    Case: 3:19-cv-01007-wmc Document #: 182 Filed: 12/08/20 Page 10 of 10




Dated: December 8, 2020



                                               Respectfully submitted,

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